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                        7                          UNITED STATES DISTRICT COURT
                        8                        IN AND FOR THE STATE OF NEVADA
                        9 NATHANIEL WILLIAMS, an individual;                   Case No: 3:18-cv-00282-MMD-CBC
                       10                                        Plaintiff,
                                  vs.                                          STIPULATION TO EXTEND
                       11                                                      DEADLINE TO DISMISS
                                                                               PURSUANT TO SETTLEMENT
                       12 WILLIAM GITTERE, CHARLES DANIELS,
                             HAROLD WICKHAM, JOHN                              (First Request)
                       13 BORROWMAN, MICHAEL MINEV, JERRY
                             HOWELL, RENEE BAKER, BRIAN E.
                       14 WILLIAMS, WILLIAM REUBART, RONALD
                             OLIVER, FRANK DREESEN, SONYA
                       15 CARILLO, DUSTIN (first name unknown),
                             CARLOS CALDERON, J. HEBERT, BONNIE
                       16 SWADLING, LEON (first name unknown),
                             STEVE GREEN, DEVLIN THOMPSON, DR.
                       17 PEÑA (first name unknown), DR. RACOMA
                             (first name unknown), PHILIP GANG, BRIAN
                       18 EGERTON, DR. ADAMSON (first name
                             unknown), DR. YUP (first name unknown), D.
                       19 HUTTENSCHMIDT, and DOES 1-70;

                       20                               Defendants.
                             ______________________________________/
                       21

                       22          Plaintiff, NATHANIEL WILLIAMS, and Defendants: Kim Adamson, Renee Baker,

                       223 John Borrowman, Carlos Calderon, Sonya Carrillo, Charles Daniels, Frank Dreesen, Brian

Kerry S. Doyle, Esq.
                       24 Egerton, Philip Gang, William Gittere, Steve Green, Judith Hebert, Jerry Howell, Kenia Leon,
4600 Kietzke Lane
Suite I-207            25 Michael Minev, Ronald Oliver, Rene Pena, Dr. Racoma, William Reubart, Bonnie Swadling,
Reno, Nevada 89502
(775) 525-0889
                       26 Devlin Thompson, Harold Wickham, Brian Williams and Catherine Yup, by and through
kerry@rdoylelaw.com
                       27 respective counsel, pursuant to Rule 6 of the Federal Rules of Civil Procedure, and LR IA 6-1

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                        1 of the United States District Court for the District of Nevada Local Rule hereby stipulate to

                        2 extend the deadline to file stipulations to dismiss the actions.

                        3           The parties agree that they have exchanged a draft settlement proposal; however, due to

                        4 the Attorney General’s involvement in high profile argument regarding the death penalty and

                        5 delays in transporting Williams to camp, which created difficulty in delivering documents for

                        6 his review, the parties require additional time to execute the necessary documents and file the

                        7 stipulations to dismiss. The current deadline to dismiss the actions pursuant to settlement is

                        8 December 6, 2021. The parties request an extension until January 6, 2022, to allow them to

                        9 complete the required documents and work around the holidays.

                       10      DATED this 2nd day of December 2021.        DATED this 2nd day of December 2021.
                       11      DOYLE LAW OFFICE, PLLC                      AARON D. FORD, ATTORNEY GENERAL
                       12      By:_/s/ Kerry S. Doyle___________           BY: /s/ Douglas R. Rands                 .
                                  KERRY S. DOYLE, ESQ.                        DOUGLAS R. RANDS
                       13         Nevada Bar No. 10866                        Nevada Bar No. 3572
                                  4600 Kietzke Lane, Ste. I-207               Senior Deputy Attorney General
                       14         Reno, NV 89502                              State of Nevada
                                  Attorney for Plaintiff                      Public Safety Division
                       15                                                     100 North Carson Street
                                                                              Carson City, NV 89701
                       16                                                     Tel: (775) 684-1258
                                                                              E-mail: drands@ag.nv.gov
                       17                                                     Attorneys for Defendants
                       18                                        IT IS SO ORDERED.
                       19
                                                                 By:____________________________________
                       20                                           UNITED STATES MAGISTRATE JUDGE
                       21

                       22                  December 3, 2021
                                    DATED:__________________

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